Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 1 of 62




                                                             EXHIBIT A




                                                                  EXHIBIT A
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 2 of 62
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 3 of 62
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 4 of 62




                             EXHIBIT A‐01

                                  TO

                 DECLARATION OF MARK J. COURTOIS
1/7/2020        Case 7:19-cv-00411 Fundraiser by Marianna
                                                     29-1Trevino : Defend the National Butterfly Center, Page
                                                                                                         Again 5 of 62
                                     Document                Filed   on 01/20/20        in TXSD                   EXHIBIT A-01
                      How it            Start a
       Search                                                                            Sign in         Share           Donate
                      works             GoFundMe




   Defend the National Butter y Center,
   Again



                                                                  See all




                                Marianna Trevino is organizing this
                                fundraiser on behalf of North American
                                Butter y Association, Inc..
                                 Donations are 100% tax deductible.



                 Created December 9, 2019
                         Animals & Pets



                 Dear Lovers of Butter ies & Freedom,
                 We need your help—again—to ght a new enemy
                 threatening the National Butter y Center . This
                 time, the villain is not the Trump Administration
                 (against whom we led suit in December 2017), but
                 Brian Kolfage and his private citizens’ campaign, We
                 Build the Wall, Inc . (WBTW), along with Fisher
                 Industries . Together, they are building what they
                 describe as a “water wall” on the banks of the Rio
                 Grande River.

                 In early November, WBTW and Fisher arrived on a
                 neighboring property in Mission, Texas, where they                                                  EXHIBIT A-01
https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   1/11
1/7/2020        Case 7:19-cv-00411 Fundraiser
                                     Document by Marianna
                                                     29-1Trevino : Defend
                                                             Filed        the National Butterfly
                                                                     on 01/20/20        in TXSD  Center, Page
                                                                                                         Again 6 of 62


                 are building an unpermitted, freestanding border
                 wall 3 miles long in the oodplain, in violation of
                 international treaty. This project will obstruct and
                 divert water ow in ood events to nearby
                 properties and cause irreparable damage to the Rio
                 Grande delta and the National Butter y Center.

                 Our only option to stop this destructive project and
                 preserve the National Butter y Center against
                 these impacts and potential land loss, was to le suit
                 against the landowner, Kolfage, WBTW and Fisher
                 —but we will need your support to see this through.


                 On December 3, we obtained a Temporary
                 Restraining Order in state district court ordering
                 the defendants to cease all construction activity;
                 however, construction has continued in violation of
                 this order .




                 Although it is less than one year old, WBTW has
                 already collected more than $23 million for border
                 wall construction. The organization has also come
                 under criminal investigation by the State of Florida,
                 where it was formed by Kolfage, who has a history
                 of pro ting from fake and conspiratorial websites .

                 In order to boost fundraising, Kolfage has accused
                 the National Butter y Center and its executive

https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   2/11
1/7/2020        Case 7:19-cv-00411 Fundraiser
                                     Document by Marianna
                                                     29-1Trevino : Defend
                                                             Filed        the National Butterfly
                                                                     on 01/20/20        in TXSD  Center, Page
                                                                                                         Again 7 of 62


                 director, Marianna Trevino Wright, of being involved
                 in human traf cking, drug smuggling and the human
                 sex trade. His false and defamatory statements are
                 fueling dangerous sentiment and in aming public
                 opinion toward our organization and our director.




                 The National Butter y Center is lean, green project
                 of the nonpro t North American Butter y
                 Association. Unlike our adversaries, we are not
                 sitting on a war chest worth millions to ght them in
                 what will most certainly become an expensive court
                 battle. For this reason, we humbly request that you
                 contribute any amount to this effort to help us ght
                 this wall and ful ll our conservation mission.


                 Just so you know who we’re up against, the WBTW
                 advisory board is composed of proxies for President
                 Trump. The board includes Steve Bannon, former
                 White House Chief Strategist and former executive
                 chairman of Breitbart News; Kris Kobach,
                 Republican candidate from Kansas for U.S. Senate;
                 Erik Prince, founder of military service contractor
                 Blackwater USA and brother of U.S. Secretary of
                 Education Betsy DeVos: and David Alexander Clarke
                 Jr., former sheriff of Milwaukee County, Wisconsin,
                 vocal critic of the Black Lives Matter movement, and
                 former spokesman for the super PAC America First


https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   3/11
1/7/2020        Case 7:19-cv-00411 Fundraiser
                                     Document by Marianna
                                                     29-1Trevino : Defend
                                                             Filed        the National Butterfly
                                                                     on 01/20/20        in TXSD  Center, Page
                                                                                                         Again 8 of 62


                 Action.




                 The National Butter y Center is a 100-acre, native
                 plant botanical garden that anchors a 2,000-acre
                 section of the Lower Rio Grande Valley Wildlife
                 Conservation Corridor, a critical habitat
                 preservation project at the biologically-diverse and
                 vibrant, but threatened, crossroads of the United
                 States and Mexico. This unique region encompasses
                 no fewer than 11 different types of habitat, from
                 tidal wetlands to riparian forest, brushland scrub to
                 prairie savanna, and is home to more than 1,200
                 different species of plants, 500 species of birds, 200
                 vertebrate species, roughly 300 species of
                 butter ies and over 90 species of dragon ies!

                 In addition, the National Butter y Center has been
                 named one of TIME for Kids World's Coolest Places
                 of 2019 , which recognizes 50 global destinations
                 that provide enriching, educational, and innovative
                 experiences—and that kids really like!



                            Join Us at the Texas Butterﬂy Festival




https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   4/11
1/7/2020        Case 7:19-cv-00411 Fundraiser
                                     Document by Marianna
                                                     29-1Trevino : Defend
                                                             Filed        the National Butterfly
                                                                     on 01/20/20        in TXSD  Center, Page
                                                                                                         Again 9 of 62




                 The National Butter y Center is committed to
                 ‘Growing Connections’ between people, plants, and
                 the winged wonders that pollinate and propagate all
                 that grows around us. We do this through
                 educational and environmental initiatives that
                 cultivate meaningful understanding of the processes
                 that create sustainable ecosystems. The Center is
                 open to the public, for visitors and members, seven
                 days/week. To learn more about the National
                 Butter y Center, and how you can join us, visit
                 www.nationalbutter ycenter.org .




                 Updates (4)

                •   JANUARY 3, 2020 by Marianna Trevino, Organizer


                       UPDATE: Court today went much longer
                       than expected. The judge rolled the IBWC's
                       injunction hearing and ours into ONE. The

                       government presented expert testimony, at
                       which point the judge's bias toward border
                       wall and private, for-pro t business was on
                       full display. Before even hearing from us--
                       not a word from our expert in testimony--he
                       met with the attorneys in private and said
                       he did not think the plaintiffs would be able
                       to make their cases; so, "why not" just let
                       Fisher proceed and build their "water wall"
                       on the banks of the Rio Grande River. Our
                       attorney protested, then the Assistant US
                       Attoneys (who are loathe to speak up to a
                       federal judge) joined in and our expert was
                       heard
https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   5/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
                                   Document  by Marianna
                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 10 of 62
                    heard.

                       Our expert, who was hired by the US Army
                       Corps of Engineers to beta-test and debug
                       this software for ood modeling, testi ed
                       that the model Fisher, Neuhaus and We
                       Build the Wall, Inc, has presented to the
                       court is "not calibrated," has no accounting
                       for "sediment distribution" and does not
                       properly factor debris. So, the model they
                       presented to the court. the IBWC and us is
                       not true, complete or accurate where real
                        ood events are concerned.

                       As a result, Fisher must wait another week
                       (at least) for their "water wall" construction,
                       until they have their expert appear to
                       testify. Of course, they are doing this when
                       they hope the government's experts and
                       ours will not appear.

                       We have another court hearing set for
                       Thursday, Jan. 9.

                       THANK YOU to all who are contrubuting to
                       our defense. It's expensive and we may have
                       to y our expert in from Davis, CA, again

                       next week!

                       Please SHARE this campaign!


                       Every dollar counts.
                       We are grateful for your continued support,
                       Marianna



                •   DECEMBER 20, 2019 by Marianna Trevino, Organizer

                    ALERT: We do not want to be the source of
                    misinformation, so we wish to correct the last
                     update. According to We Build the Wall and
                     Fi h I d t i                           t t th A            i t d
https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   6/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
                                     Documentby Marianna
                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 11 of 62
                  Fisher Industries comments to the Associated
                  Press and on Twitter, they are purchasing their
                  steel from Nucor… Read more




                •   DECEMBER 20, 2019 by Marianna Trevino, Organizer

                    UPDATE: Yesterday, we had our rst hearing in
                    federal court, per Neuhaus & Sons LLC's request
                    to have it moved there. The judge had lots of
                    questions ranging from why did we have an
                    interest in border wall construction on the river
                    (where… Read more



                                                                                              $12,650 raised of
                                                                                              $100,000 goal


                    Show older
                                                                                                       Donate now


                                                                                                            Share
                                                   245    679    57
                    Fundraiser Stats               donors shares followers                              Anonymous
                                                                                                        $25    •   16 hrs

                 Organizer
                                                                                                        Judith Stanley
                                                                                                        $25    •   1d
                           Marianna                            North
                           Trevino                             American                                 Anonymous
                           Organizer                           Butter y                                 $10    •   1d
                           Mission, TX
                                                               Association,
                                                               Inc.                                     Sherri Papirnik
                                                               Registered                               $25    •   1d
                                                               nonpro t
                                                               Donations are
                                                                                                        Anonymous
                                                               100% tax
                                                                                                        $25    •   1d
                                                               deductible.
                                                               Learn more
                                                                                                            See all
https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   7/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
                                   Document  by Marianna
                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 12 of 62


                              Contact




                 Comments (21)

                           Sam Gassel donated $25
                           The next election will be the most
                           consequential of our Lifetime - and maybe
                           fora generation. Please take part, become
                           and advocate, and volunteer to defend all
                           that is good in the world.

                           3d




                           Rachel Leip donated $5
                           This "water wall" is an environmental crime,
                           both domestically and internationally. It
                           must be stopped immediately.

                           3d




                           Bill Johnson donated $50

                           Keep up the good work! Fisher Industries
                           clearly does not care about the impact their
                           project would have but building that type of
                           barrier in a oodplain would inevitably harm
                           the river and neighboring properties.

                           3d




                           Becky Mix donated $25
                           I cannot express the terror I feel when I read
                           about the events threatening the Butter y
                           Center. It reads like a horror story where
https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   8/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
                                   Document  by Marianna
                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 13 of 62

                           aliens invade and destroy the local ora &
                           fauna. How can this be happening to the
                           Center and ultimately many… Read more

                           3d




                           Barbara Holst donated $10
                           This is criminal and needs to be stopped.

                           7d




                           Mary Wendland donated $25
                           Border walls are counterproductive. They
                           don't stop problems. They only create
                           problems. They are ridiculously expensive.
                           They destroy the environment!

                           8d




                           Veronica Varela donated $50
                           I traveled from Alaska speci cally to visit
                           the Center and go birdwatching there.

                           Great place! The experience was good for
                           the soul. It breaks my heart thinking the
                           terrible wall could destroy that special place
                           and the animals that pass through…
                            Read more

                           15 d




                           Michal Mudd donated $50
                           What's being done down there to the center
                           is outrageous and criminal!

https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9…   9/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
                                   Document  by Marianna
                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 14 of 62

                           16 d




                           Faith and Gary Reyes donated $100
                           We are lovers of butter ies - citizens of the
                           world!

                           17 d




                           Irene. Frantz donated $100
                           We have visited the butter y center
                           numerous times because it is a beautiful and
                           important place. My heart is breaking over
                           what is happening.

                           17 d


                    Show more




                       Report fundraiser



                              #1                                    GOFUNDME                            EXPERT
                              FUNDRAISING                           GUARANTEE                           ADVICE,
                              PLATFORM                                                                  24/7
                                                                    In the rare
                              People have                           case that                           Contact us
                              raised more                           something                           with your
                              money on                              isn’t right, we                     questions and
                              GoFundMe                              will refund                         we’ll answer,
                              than anywhere                         your donation.                      day or night.
                              else.                                 Learn more                          Learn more
                              Learn more




                                            FUNDRAISE FOR              LEARN MORE                  RESOURCES


https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq…   10/11
1/7/2020       Case 7:19-cv-00411 Fundraiser
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                                                   29-1Trevino
                                                          Filed: Defend the National Butterfly
                                                                  on 01/20/20        in TXSD   Center,Page
                                                                                                      Again 15 of 62

                                            Medical                    How GoFundMe                Help center
                                                                       works
                                            Emergency                                              Blog
                                                                       Why GoFundMe
                                            Memorial                                               GoFundMe Stories
                Choose your
                                                                       Common
                language                    Education                                              Press center
                                                                       questions
                                            Charity                                                Careers
                   English (U
                                                                       Success stories
                                            Nonpro t                                               About
                                                                       Supported
                                            organization
                                                                       countries




                 © 2010-2020                      Terms        Privacy       Legal
                 GoFundMe




https://www.gofundme.com/f/defend-the-national-butterfly-center-again?fbclid=IwAR2AcH0_SjXnu8UUofgBP8-mTsZO7URAgL-n2jWukzhcwNYpDq9… 11/11
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 16 of 62




                             EXHIBIT A‐02

                                  TO

                  DECLARATION OF MARK J. COURTOIS
1/7/2020          Case 7:19-cv-00411 DocumentNational
                                              29-1 Butterfly
                                                      Filed(@NatButterflies)
                                                             on 01/20/20| Twitter                Exhibit A-02
                                                                             in TXSD Page 17 of 62
           Home           Moments                                                Search Twitter                    Have an account? Log in




                                                     Tweets       Following       Followers         Likes
                                                                                                                                       Follow
                                                     2,293        1,385           5,740             731


                                                     Tweets         Tweets & replies                     Media
       National Butterfly
       @NatButterflies                                       National Butterfly Retweeted

       The National Butterfly Center, a project of
                                                                                              
                                                              Texas Civil Rights Project  @TXCivilRights · 20h                                 
                                                              The Anzaldua family and our friends at @NatButterflies are correct: border wall
       the North American Butterfly Association,
                                                              construction will lead to flooding that will damage properties, endanger people
       a nonprofit dedicated to the conservation
                                                              and wildlife, and hurt the Rio Grande Valley's economy. One more reason we say
       and study of wild butterflies.
                                                              #NoBorderWall.
          Mission, Texas

          NationalButterflyCenter.org

          Joined November 2012

          111 Photos and videos




                                                                Erosion, flooding concerns raised over privately funded border wall i…

                                                                A Rio Grande Valley resident said he's worried the impact the We Build the
                                                                Wall project will have on the land his family has owned for generations will

                                                                ksat.com




                                                                  1             16                15


                                                              National Butterfly @NatButterflies · Jan 4
                                                              It's been a while since we had a new blog post regarding 'Lessons & Reflections
                                                                                                                                                
                                                              from the National Butterfly Center, by our director, Marianna, but they are always
                                                              worth the wait. Click to read and enjoy! nationalbutterflycenter.org/nbc-multi-
                                                              medi…

                                                                  1             7                 16


                                                              National Butterfly @NatButterflies · Jan 3
                                                              Fisher must wait at least another week for their "water wall" construction. Today,
                                                                                                                                                
                                                              our expert (who help the US government develop the software used for flood
                                                              modeling) poked holes in their model which... gofundme.com/manage/defend-…

https://twitter.com/NatButterflies                                                                                        Exhibit A-02            1/7
1/7/2020          Case 7:19-cv-00411 DocumentNational
                                              29-1 Butterfly
                                                      Filed(@NatButterflies)
                                                             on 01/20/20| Twitter
                                                                             in TXSD Page 18 of 62
                                                              
                                                                                                 
                                                       3            5               15
            Home            Moments                                  Search Twitter                        Have an account? Log in
                                                  National Butterfly @NatButterflies · 31 Dec 2019
                                                  NECTAR: 2019: What a year it has been! - mailchi.mp/nationalbutter…
                                                                                                                                     
                                                  mailchi.mp/nationalbutter…

                                                                  2              7


                                                  National Butterfly @NatButterflies · 29 Dec 2019                                   
                                                  NOTE: La Parida is west of us on the banks of the river, in our 2,000 acre section of
                                                  the Lower Rio Grande Valley Wildlife Conservation Corridor. From the article:
                                                  "Even on...




                                                    US heads to court in effort to seize private land for Texas border wall

                                                    HOUSTON — Three years into Donald Trump's presidency, the U.S.
                                                    government is ramping up its efforts to seize private land in Texas to build a

                                                    fox6now.com




                                                      5           26             35


                                                  National Butterfly @NatButterflies · 26 Dec 2019
                                                  We are fighting destructive border walls every way we can. Many thanks to
                                                                                                                                     
                                                  Earthjustice for stepping up to help us on this front!




                                                    Earthjustice and National Butterfly Center Urge U.S. Army Corps of E…

                                                    This morning, the environmental law group Earthjustice, on behalf of the
                                                    National Butterfly Center™, released a letter to U.S. Army Corps of Engi...

                                                    earthjustice.org




                                                      8           40             77


                                                  National Butterfly @NatButterflies · 21 Dec 2019
                                                  Both Trump's border wall and the private one Fisher Industries is building nearby
                                                                                                                                     
                                                  include harmful all night-bright lighting. This is just one of the reasons we're
                                                  fighting these initiatives...



https://twitter.com/NatButterflies                                                                                                        2/7
1/7/2020          Case 7:19-cv-00411 DocumentNational
                                              29-1 Butterfly
                                                      Filed(@NatButterflies)
                                                             on 01/20/20| Twitter
                                                                             in TXSD Page 19 of 62
           Home           Moments                                 Search Twitter                       Have an account? Log in




                                                    Light pollution is key 'bringer of insect apocalypse'

                                                    Exclusive: scientists say bug deaths can be cut by switching off unnecessary
                                                    lights

                                                    theguardian.com




                                                     5            39               51


                                                  National Butterfly @NatButterflies · 20 Dec 2019                                  
                                                  A little light bedtime reading on border walls and the Rio Grande River. THE
                                                  FLOOD NEXT TIME, by @gus_bova




                                                    The Flood Next Time

                                                    In the floodplain of the Rio Grande, Trump's wall threatens to inundate
                                                    communities on both sides of the border.

                                                    texasobserver.org




                                                     4            20               25


                                                  National Butterfly @NatButterflies · 19 Dec 2019
                                                  ALERT: The Rose-throated Becard is still being seen at the National Butterfly
                                                                                                                                    
                                                  Center

                                                     2            5                14


                                                  National Butterfly @NatButterflies · 14 Dec 2019                                  
                                                  What a fantastic morning! More than 115 Girl Scouts attended Spike's birthday
                                                  party and earned badges related to caring for pets and the planet. We had great
                                                  fun and learned a lot on this beautiful, sunny day outdoors!
                                                  facebook.com/20124878324218…

                                                     1            4                29


                                                  National Butterfly @NatButterflies · 14 Dec 2019
                                                  Another delight in the gardens of the National Butterfly Center! During the
                                                                                                                                    
                                                  holidays, the ornaments on our trees and shrubs are spectacular and alive!
                                                  facebook.com/20124878324218…

                                                     1            8                26
https://twitter.com/NatButterflies                                                                                                      3/7
1/7/2020
                                                  
                  Case 7:19-cv-00411 DocumentNational
                                              29-1 Butterfly
                                                      Filed(@NatButterflies)
                                                             on 01/20/20| Twitter
                                                                             in TXSD Page 20 of 62
           Home           Moments                                 Search Twitter
                                                  National Butterfly @NatButterflies · 13 Dec 2019       Have an account? Log in
                                                                                                                                    
                                                  TIME TO MAKE THEIR PHONES RING! As we've long said, BOTH parties have used
                                                  border wall funding as a bargaining chip for their own priorities, throwing the
                                                  borderlands under the bus in exchange for benefits for...
                                                  facebook.com/natbutterflies…

                                                      1           13               15


                                                  National Butterfly @NatButterflies · 12 Dec 2019
                                                  From the federal hearing, today: "private border wall project irreparably damaged
                                                                                                                                    
                                                  the riverbank."




                                                      5           17               23


                                                  National Butterfly @NatButterflies · 12 Dec 2019                                  
                                                  The lawlessness continues...Please help us in this new fight to defend the National
                                                  Butterfly Center against We Build the Wall, Inc. and their destructive, unpermitted
                                                  project near us that will alter the... facebook.com/natbutterflies…

                                                      4           24               29


                                                  National Butterfly @NatButterflies · 12 Dec 2019
                                                  ...
                                                                                                                                    




                                                      2           13               10


                                                  National Butterfly @NatButterflies · 11 Dec 2019
                                                  ...
                                                                                                                                    




https://twitter.com/NatButterflies                                                                                                      4/7
1/7/2020          Case 7:19-cv-00411 DocumentNational
                                              29-1 Butterfly
                                                      Filed(@NatButterflies)
                                                             on 01/20/20| Twitter
                                                                             in TXSD Page 21 of 62
           Home           Moments                                  Search Twitter                        Have an account? Log in




                                                      4           26                27


                                                  National Butterfly @NatButterflies · 9 Dec 2019
                                                  Please donate to DEFEND THE NBC via Facebook or here:
                                                                                                                                      
                                                  nationalbutterflycenter.org/support-nbc/do…. Our first court date is set for Dec....




                                                      8           29                25


                                                  National Butterfly @NatButterflies · 8 Dec 2019                                     
                                                  We Build the Wall, has raised $25 million to, they say, build border...




                                                      20          18                38


                                                  National Butterfly @NatButterflies · 8 Dec 2019                                     
                                                  WHAT A WEEK! On Thursday, our attorneys argued our federal suit against the
                                                  Trump administration the Court of Appeals for the D.C. Circuit AND we made...




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                                                    National Butterfly @NatButterflies · 7 Dec 2019
                                                    In defiance of state and federal court orders, the private "border wall"
                                                                                                                                     
                                                    construction by We Build the Wall, Inc., Fisher Industries and Neuhaus & Sons LLC
                                                    continues.




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                                            Puerto Rico
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                                            with new album

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                                            BTS marks comeback date
                                            with new album

                                            Baylor
                                            22.4K Tweets

                                            #TuesdayThoughts
                                            68.6K Tweets



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Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 24 of 62




                             EXHIBIT A‐03

                                  TO

                  DECLARATION OF MARK J. COURTOIS
  Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 25 ofEXHIBIT
                                                                       62      A-03
USCA Case #19-5052   Document #1781785         Filed: 04/08/2019 Page 1 of 17




                UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

   NORTH AMERICAN BUTTERFLY
   ASSOCIATION,

                  Plaintiff-Appellant,

      -against-
                                                     No. 19-5052
   KIRSTJEN M. NIELSEN, in her official
   capacity as Secretary, United States
   Department of Homeland Security, KEVIN
   M. MCALEENAN, in his official capacity
   as Commissioner, United States Customs
   and Border Protection, CARLA L.
   PROVOST, in her official capacity as
   Chief, United States Border Patrol, and
   MANUEL PADILLA, JR., in his official
   capacity as Chief Patrol Agent, United
   States Customs & Border Protection Rio
   Grande Valley Border Patrol Sector,

                  Defendant-Appellees.




       UNDERLYING DECISION FROM WHICH APPEAL ARISES
                                               Timothy K. Beeken
                                               DEBEVOISE & PLIMPTON
                                               LLP
                                               919 Third Avenue
                                               New York, NY 10022
                                               (212) 909-6000

         April 8, 2019                   Attorneys for Plaintiff-Appellant


                                                                             Exhibit A-03
       Case 1:17-cv-02651-RJL
  Case 7:19-cv-00411           Document
                      Document 29-1 Filed46  Filed 02/14/19
                                          on 01/20/20  in TXSDPage 1 of26
                                                                 Page   1 of 62
USCA Case #19-5052    Document #1781785         Filed: 04/08/2019    Page 2 of 17


                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
                                                                         FILED
                                                                             FEB 1 if 2019
 NORTH AMERICAN BUTTERFLY                                              Clerk, U.S. District and
 ASSOCIATION,                                                            Bankruptcy Courts


             Plaintiff,

             v.                                      Civil Case No. 17-2651 (RJL)

 KIRSTJEN M. NIELSEN, et al.

             Defendants.


                                      ORDER
                           (February v, 2019) [Dkt. ## 25, 34]



       For the reasons set forth in the accompanying Memorandum Opinion, it is hereby

       ORDERED that defendants' motions to dismiss [Dkt. ## 25, 34] are GRANTED,

plaintiff's constitutional claims are DISMISSED without prejudice, and plaintiff's

statutory claims are DISMISSED with prejudice.

       SO ORDERED.




                                               RICHARD J         N
                                               United State   strict Judge
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  Document Document
                               29-1 Filed45on Filed  02/14/19
                                              01/20/20         Page
                                                         in TXSD    1 of 27
                                                                  Page   14 of 62
USCA Case #19-5052     Document #1781785          Filed: 04/08/2019    Page 3 of 17


                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA                      FILED
 NORTH AMERICAN BUTTERFLY                                                     FEB 1 4 2019
 ASSOCIATION,                                                             Clerk, U.S. District arid
                                                                            Bankruptcy Courts
              Plaintiff,

              v.                                        Civil Case No. 17-2651 (RJL)

 KIRSTJEN M. NIELSEN, et al.

              Defendants.

                                        4
                               MEMORANDUM OPINION
                            (Februaryot,
                                      2019) [Dkt. #11 25, 34]


       The North American Butterfly Association ("NABA" or "plaintiff"), a non-profit

organization devoted to butterflies and butterfly habitat conservation, brought this action

against Department of Homeland Security ("DHS") Secretary Kirstjen Nielsen, United

States Customs and Border Protection ("CBP") Acting Commissioner Kevin McAleenan,

United States Border Patrol ("USBP") Acting Chief Carla Provost, and CBP Rio Grande

Valley Sector Chief Patrol Agent Manuel Padilla, Jr., each in their official capacities

(collectively, "defendants"). NABA seeks declaratory and injunctive relief based on

alleged constitutional and statutory violations arising from defendants' border wall

preparation and law enforcement activities at NABA's National Butterfly Center

("Butterfly Center"), which is located near the United States-Mexico border in South

Texas. Pending before me are defendants' motions to dismiss under Federal Rules of Civil

Procedure 12(b)(1) and 12(b)(6).


                                            1
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  Document Document
                               29-1 Filed45on Filed  02/14/19
                                              01/20/20         Page
                                                         in TXSD    2 of 28
                                                                  Page   14of 62
USCA Case #19-5052     Document #1781785          Filed: 04/08/2019    Page 4 of 17


        Upon consideration of the pleadings and the relevant law, and for the reasons stated

 below, defendants' motions to dismiss are GRANTED, and this case is DISMISSED.

                                      BACKGROUND

        On January 25, 2017, President Donald Trump issued Executive Order No. 13767,

 directing the DHS Secretary to "take all appropriate steps to immediately plan, design, and

 construct a physical wall along the southern border" with Mexico. 82 Fed. Reg. 8793,

 8794. On February 20, 2017, former DHS Secretary John Kelly issued a memorandum

 implementing the Executive Order. See Mem. Re: Implementing the President's Border

 Security and Immigration Enforcement Improvements Policies (February 20, 2017) [Dkt.

 # 25-2, Att. E]. Secretary Kelly's memorandum directed CBP to "immediately begin

 planning, design, construction, and maintenance of a wall, including the attendant lighting,

 technology (including sensors), as well as patrol and access roads, along the land border

 with Mexico in accordance with existing law." Id. at 5. Neither the Executive Order, nor

 the implementing memorandum, identifies any particular location or specific infrastructure

 projects for the planning or construction of the physical barrier wall.

        NABA is a non-profit organization dedicated to conserving butterflies and butterfly

 habitats. Am. Compl. ¶ 15. NABA owns and operates the Butterfly Center, a 100-acre

 wildlife center and botanical garden located in South Texas abutting the Rio Grande river.

 Id. at TT 46-47. The Butterfly Center is home to a number of wildlife species listed as

 threatened or endangered under federal law. Id. at ¶ 49. The Butterfly Center is also

situated in the Rio Grande Valley Border Patrol Sector ("RGV Sector"), a USBP

 designation for the 17,000 square-mile geographical patrol area encompassing the Center.

                                              2
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument
                               29-1 Filed45on Filed  02/1
                                              01/20/20   4/19
                                                         in    Page
                                                            TXSD    3 of29
                                                                  Page  14of 62
USCA Case #19-5052     Document #1781785          Filed: 04/08/2019   Page 5 of 17


 Id. at ¶ 19. Although not expressly alleged, plaintiff does not appear to dispute that the

 Butterfly Center is located within twenty-five miles of the southern border with Mexico.

 See id. at I15; Pl.'s Opp'n at 2, 22 [Dkt. # 30].

        NABA alleges that on July 20, 2017, the Butterfly Center's executive director

 identified a work crew on Center property using heavy equipment to "cut down trees, mow

 brush, and widen a private road that runs" through the Center. Am. Compl. ¶ 53. The

 executive director also noticed "surveyor flags" elsewhere on the property. Id. at ¶ 54. The

 executive director contacted CBP, which confirmed that the agency was responsible for the

 work crew, had authority for the activity, and would provide further clarity about the work.

 Id. at ¶ 55. On August 1, 2017, the Chief Patrol Agent for the RGV Sector and two CBP

 agents visited the Butterfly Center and showed the executive director "a draft proposal for

 the border wall, including a segment through the Butterfly Center." Id. at ¶ 56. The Chief

 Patrol Agent also referred to "sensors" that had been placed in undisclosed locations on

 Center property. Id. at ¶ 59. Plaintiff alleges that since the August 1, 2017 meeting, CBP

 officials have, on one occasion, "followed and temporarily detained" the executive director

 and a reporter and have "regularly station[ed]" themselves on Center property rather than

 patrolling. Id. at IN 61-62.

        Plaintiff filed a complaint for declaratory and injunctive relief on December 11,

2017, see Compl. [Dkt. # 1], which it amended on March 28, 2018, see Am. Compl. [Dkt.

 # 19]. Based on the foregoing factual allegations, NABA claims that defendants have

 failed to comply with their statutory obligations under the National Environmental Policy

Act ("NEPA") and the Endangered Species Act ("ESA") and have violated NABA's

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  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument
                               29-1 Filed45on Filed 02/1
                                              01/20/20   4/19  Page
                                                         in TXSD    4 of 30
                                                                  Page   14 of 62
USCA Case #19-5052     Document #1781785          Filed: 04/08/2019    Page 6 of 17


 Fourth and Fifth Amendment rights. Id. at ¶¶ 63-89. Defendants moved to dismiss the

 Amended Complaint on May 25, 2018, arguing that NABA's statutory and constitutional

 claims are unripe and/or otherwise defective. See [Dkt. # 25].

          On October 12, 2018, defendants filed a notice informing the Court of a

 determination by DHS Secretary Nielsen pursuant to § 102 of the Illegal Immigration

 Reform and Immigrant Responsibility Act ("IIRIRA"), 8 U.S.C. § 1103 note, which

 authorizes the Secretary to "waive all legal requirements"—including the ESA and

NEPA—that the Secretary "determines necessary to ensure expeditious construction of

physical barriers and roads along the United States-Mexico border) Section 102 also

 deprives federal courts of jurisdiction to review any non-constitutional "causes or claims"

that "aris[e] from any action undertaken, or any decision made, by the Secretary of

Homeland Security pursuant to" the Secretary's waiver authority. IIRIRA § 102(c)(2)(A).

       The Secretary invoked her waiver authority on October 4, 2018, applying it to

certain areas within the RGV Sector that include NABA's Butterfly Center property. See

Determination Pursuant to Section 102 of the Illegal Immigration Reform and Immigrant

Responsibility Act of 1996, as Amended, 83 Fed. Reg. 51472, 51473 (Oct. 11, 2018)

("Waiver Determination"). The Secretary "waive[d] in their entirety," inter alia, NEPA,

the ESA, and the Administrative Procedure Act ("APA") "with respect to the construction

of roads and physical barriers (including, but not limited to, accessing the project area,

creating and using staging areas, the conduct of earthwork, excavation, fill, and site




         References to § 102 as currently constituted are cited herein as "IIRIRA § 102."
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  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  Document Document
                               29-1 Filed45on Filed 02/14/19
                                              01/20/20         Page
                                                         in TXSD    5 of31
                                                                  Page  14of 62
USCA Case #19-5052    Document #1781785           Filed: 04/08/2019   Page 7 of 17


 preparation, and installation and upkeep of physical barriers, roads, supporting elements,

 drainage, erosion controls, safety features, lighting, cameras, and sensors) in the project

 area." Id. at 51473-74. Accordingly, defendants filed a supplemental motion to dismiss

 contending that the Waiver Determination extinguishes plaintiff's NEPA and ESA claims

 by depriving this Court of subject matter jurisdiction over them. See [Dkt. # 34].

                                    LEGAL STANDARD

        On a Rule 12(b)(1) motion to dismiss for lack of subject matter jurisdiction, the

 plaintiff bears the burden of establishing jurisdiction by a preponderance of the evidence.

 See Lujan v. Defenders of Wildlife, 504 U.S. 555, 561 (1992); see also Bank of America,

 N.A. v. FDIC, 908 F.Supp.2d 60, 76 (D.D.C. 2012). Because "subject-matter jurisdiction

 is an `Art[icle] III as well as a statutory requirement[,] no action of the parties can confer

subject-matter jurisdiction upon a federal court.'" Akinseye v. District of Columbia, 339

 F.3d 970, 971 (D.C. Cir. 2003) (quoting Ins. Corp. of Jr., Ltd. v. Compagnie des Bauxites

de Guinee, 456 U.S. 694, 702 (1982)). In considering a 12(b)(1) motion to dismiss, a court

 need not limit itself to the complaint, but rather "may consider such materials outside the

pleadings as it deems appropriate to resolve the question whether it has jurisdiction in the

 case." Bank of America, NA. v. FDIC, 908 F.Supp.2d 60, 76 (D.D.C. 2012) (quotation

marks omitted).

        A Rule 12(b)(6) motion to dismiss tests the legal sufficiency of a complaint.

Browning v. Clinton, 292 F.3d 235, 242 (D.C. Cir. 2002). To survive a 12(b)(6) motion, a

complaint "must contain sufficient factual matter, accepted as true, to state a claim to relief

that is plausible on its face." Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (internal quotation

                                               5
  Case Case  1:17-cv-02651-RJL
       7:19-cv-00411   Document Document
                                29-1 Filed45on Filed  02/14/19
                                               01/20/20         Page
                                                          in TXSD    6 of 32
                                                                   Page   14of 62
USCA Case #19-5052      Document #1781785          Filed: 04/08/2019    Page 8 of 17


 marks omitted). A claim is facially plausible when the complaint allegations allow the

 Court to "draw the reasonable inference that the defendant is liable for the misconduct

 alleged.?' Id. In resolving a Rule 12(b)(6) motion, "[Ole [C]ourt assumes the truth of all

 well-pleaded factual allegations in the complaint and construes reasonable inferences from

 those allegations in the plaintiff's favor[.]" Sissel v. U.S. Dep't of Health & Human Servs.,

 760 F.3d 1, 4 (D.C. Cir. 2014).

                                        ANALYSIS

    1.      Constitutional Claims

         In its Amended Complaint, NABA asserts claims under the Fourth and Fifth

 Amendments. I will address these in turn.2

            a. Fourth Amendment

         NABA contends that defendants have violated and will continue to violate the

Fourth Amendment by entering Butterfly Center property without consent or warrant. Am.




        2 The jurisdictional impact of the Secretary's October 2018 Waiver Determination
is discussed in detail infra. Nevertheless, it bears mentioning at this point that NABA's
constitutional claims do not appear to "aris[e] from" the Secretary's waiver authority such
that § 102(c)(2)(A)'s jurisdictional carve-out would apply. However, defendants do not
argue—and the Waiver Determination does not indicate—that the Secretary's waiver of
"all legal requirements" relating to barrier and road construction extends beyond the
enumerated statutory requirements to extinguish constitutional claims arising from those
activities. I will assume that the courthouse doors remain open to such claims to avoid the
"serious constitutional question that would arise if a federal statute were construed to deny
any judicial forum for a colorable constitutional claim." Webster v. Doe, 486 U.S. 592,
603 (1988) (internal quotation marks omitted);. see also American Coalition for
Competitive Trade v. Clinton, 128 F.3d 761, 765 (1997) ("To be sure, a statute that totally
precluded judicial review for constitutional claims would clearly raise serious due process
concerns.").

                                              6
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument  45onFiled
                               29-1 Filed         02/14/19
                                            01/20/20         Page
                                                       in TXSD    7 of 33
                                                                Page   14 of 62
USCA Case #19-5052     Document #1781785        Filed: 04/08/2019    Page 9 of 17


 Compl. 1,1 85-89. Unfortunately for plaintiff, the Fourth Amendment offers little refuge

 for unenclosed land near one of the country's external borders. The Amended Complaint

 is clear that the Butterfly Center consists of 100 acres of open land accessible to the visiting

public, id. at in 46, and no factual allegations suggest that defendants entered or searched

without consent any physical structures on the Center's property. Thus, while plaintiff

perhaps could seek damages under a trespass theory,3 for constitutional purposes the

property at issue amounts to an "open field," which is "unprotected by the Fourth

Amendment, even when privately owned." United States v. Johnson, 561 F.2d 832, 858

n.13 (D.C. Cir. 1977) (Bazelon, C.J., dissenting); see also United States v. Alexander, 888

F.3d 628, 631 (2d Cir. 2018) ("that portion of private property that extends outside a

home's curtilage—what the caselaw terms an 'open field'—is beyond the purview of the

Fourth Amendment, and can be warrantlessly and suspicionlessly searched without

constitutional impediment"). Moreover, the Butterfly Center's proximity to the United

States' border with Mexico confirms that NABA has not stated a Fourth Amendment claim.

It is well established that "searches made at the border, pursuant to the long-standing right

of the sovereign to protect itself by stopping and examining persons and property crossing

into this country, are reasonable simply by virtue ofthe fact that they occur at the border."




       3 Such a trespass claim would have to be brought pursuant to the Federal Tort Claims
Act ("FTCA"), 28 U.S.C. §§ 1346(b)(1), 2679(b)(1), before it could be brought in this
Court. See 28 U.S.C. §§ 2401(b), 2675; McNeil v. United States, 508 U.S. 106, 112 (1993);
Moher v. United States, 875 F.Supp.2d 739, 751 (W.D. Mich. 2012) (considering tort
claims based on warrantless entry of border patrol agents on private timber land after
plaintiff had exhausted FTCA administrative remedy).

                                                7
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument  45onFiled
                               29-1 Filed         02/14/19
                                            01/20/20         Page
                                                       in TXSD    8 of 34
                                                                Page   14 of 62
USCA Case #19-5052    Document #1781785        Filed: 04/08/2019    Page 10 of 17


 United States v. Gurr, 471 F.3d 144, 148 (D.C. Cir. 2006) (quoting United States v.

 Ramsey, 431 U.S. 606, 616 (1977)); see 8 U.S.C. § 1357(a) (immigration officers "shall

 have the power without warrant . . . within a distance of twenty-five miles from any such

 external boundary to have access to private lands, but not dwellings, for the purpose of

 patrolling the border to prevent the illegal entry of aliens into the United States").

        As such, the confluence of the Butterfly Center's open field status and defendants'

 constitutional and statutory authority at the border compels dismissal of NABA's Fourth

 Amendment claim under Rule 12(b)(6). See Moher v. United States, 875 F.Supp.2d 739,

 773-89 (W.D. Mich. 2012) (dismissing Fourth Amendment claim based on border patrol

 officers' warrantless entry on private timber land because land was "open field" under

 Fourth Amendment and, in passing 8 U.S.C. § 1357(a), Congress "reasonably determined

 that warrantless searches in open fields on private land located within 25 miles of the

 external borders of the United States are necessary to effectively carry out and enforce the

 federal regulatory scheme" governing alien immigration); Bourgeois v. Peters, 387 F.3d

 1303, 1314-15 (11th Cir. 2004) ("[s]ituations in which such expectations [of privacy] are

 reduced include . . . border searches, and searches of open fields" (footnotes omitted)).

           b. Fifth Amendment

        The Amended Complaint asserts that defendants have deprived NABA of its

 property in violation of the Fifth Amendment's Due Process Clause. See Am. Compl.

    34-39, 80-83. This claim also fails.

        Insofar as NABA's claim is predicated on an alleged failure to comply with

 IIRIRA's property condemnation provisions, that preemptive challenge is not ripe. See

                                               8
  Case Case 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument  45on Filed
                               29-1 Filed          02/14/19
                                             01/20/20         Page
                                                        in TXSD    9 of 35
                                                                 Page   14 of 62
USCA Case #19-5052    Document #1781785         Filed: 04/08/2019    Page 11 of 17


 Am. Compl. ¶ 83 ("Defendants have not sought to acquire an interest in NABA property

 or followed any of the steps for doing so"); Texas Border Coal. v. Napolitano, 614

 F.Supp.2d 54, 59-63 (D.D.C. 2009) ("It would . . . thwart congressional will, to allow the

 plaintiff's members to preemptively challenge an anticipated condemnation when the

 Department's decision to pursue this course has not yet been rendered."). Similarly unripe

 is plaintiff's claim that "[p]roposed border wall construction" amounts to a constitutional

 deprivation. Am. Comp!. ¶ 82; see, e.g,, Texas v. United States, 523 U.S. 296, 300 (1998)

 ("[A] claim is not ripe for adjudication if it rests upon contingent future events that may

 not occur as anticipated, or indeed may not occur at all." (internal quotation marks

 omitted)). And finally, to the extent that NABA's allegations can be read to support an

 authorized-but-uncompensated taking claim, that claim too is premature. "[A] takings

 lawsuit is premature if it is brought before plaintiffs have sought compensation in the form

 of damages." Firearms Import/Export Roundtable Trade Grp. v. Jones, 854 F.Supp.2d 1,

 20-21 (D.D.C. 2012) (dismissing takings claim for injunctive relief where plaintiffs failed

 to first seek damages under the Tucker Act); see also Williamson County Regional

 Planning Comm 'n v. Hamilton Bank of Johnson City, 473 U.S. 172, 194-95 (1985);

 Student Loan Mktg. Ass'n v. Riley, 104 F.3d 397, 401 (D.C. Cir. 1997),

       Accordingly, plaintiff's Fifth Amendment claim, as alleged in the Amended

 Complaint, also must be dismissed. See, e.g., Sierra Club v. Jackson, 648 F.3d 848, 853

 (D.C. Cir. 2011) (certain justiciability questions should be addressed under Rule 12(b)(6));

 Matthew A. Goldstein, PLLC v. U.S. Dep't of State, 153 F.Supp.3d 319, 331 n.9 (D.D.C.



                                              9
  CaseCase  1:17-cv-02651-RJL
       7:19-cv-00411   DocumentDocument  45onFiled
                                29-1 Filed         02/14/19
                                              01/20/20        PagePage
                                                         in TXSD   10 of36
                                                                         14of 62
USCA Case #19-5052     Document #1781785         Filed: 04/08/2019   Page 12 of 17


 2016) (matters of prudential ripeness may be properly resolved under Rule 12(b)(6), rather

 than Rule 12(b)(1)), aff'd, 851 F.3d 1 (D.C. Cir. 2017).

    II.      Statutory Claims

          It is undisputed that the DHS Secretary's October 2018 Waiver Determination, if

 validly exercised, deprives the Court of jurisdiction to hear plaintiffs NEPA and ESA

 claims.     "Only Congress may determine a lower federal court's subject-matter

 jurisdiction." Kontrick v. Ryan, 540 U.S. 443, 452 (2004) (citing U.S. Const. art. III, § 1).

 And "when it comes to jurisdiction, the Congress giveth and the Congress taketh away."

 In re al-Nashiri, 791 F.3d 71, 76 (D.C. Cir. 2015); see 5 U.S.C. § 701(a)(1) (APA does not

 apply where "statute[] preclude[s] judicial review"); Robbins v. Reagan, 780 F.2d 37, 42

 (D.C. Cir. 1985) (APA and federal question jurisdiction are "subject . . . to preclusion-of-

 review statutes created or retained by Congress"). In the case of IIRIRA, Congress

 expressly granted to the Secretary the authority to "waive all legal requirements" that, in

 the "Secretary's sole discretion, [are] necessary to ensure expeditious construction of the

 barriers and roads" described in the statute. IIRIRA § 102(c)(1). As such, "a valid waiver

 of the relevant environmental laws under section 102(c) is an affirmative defense to all [of

 plaintiff's] environmental claims." In re Border Infrastructure Environmental Litig., --

 F.3d --, 2019 WL 509813, at *5 (9th Cir. Feb. 11, 2019).

          NABA does not argue that the geographic scope of the Secretary's Waiver

 Determination fails to encompass the Butterfly Center. See Waiver Determination, 83 Fed.

 Reg. at 51473 (defining covered area). Thus, the waiver extinguishes plaintiff's NEPA

 and ESA claims, as those statutes (and the APA) create "legal requirements" that no longer

                                              10
  CaseCase  1:17-cv-02651-RJL
       7:19-cv-00411   DocumentDocument  45onFiled
                                29-1 Filed         02/14/19
                                              01/20/20        PagePage
                                                         in TXSD   11 of37
                                                                         14of 62
USCA Case #19-5052     Document #1781785         Filed: 04/08/2019   Page 13 of 17


 apply to actions related to "the construction of roads and physical barriers"—e.g.,

 excavation, site preparation, installation and upkeep of barriers, roads, and sensors—in the

 covered area. Id. at 51473-74; see In re Border Infrastructure Environmental Litig., --

 F.3d --, 2019 WL 509813, at *9 ("The Secretary has waived the legal requirements that

 [plaintiffs] allege DHS violated."). It is of no moment that the waiver was issued after the

 commencement of this action. See In re Border Infrastructure Environmental Litig., 2019

 WL 509813, at *5 n.8 (rejecting argument that previously effective statutory requirements

 survive waiver because "the waiver provision says nothing about when the agency must

 invoke its authority," and thus no "relief could be granted once DHS issued the waivers").

        IIRIRA also expressly precludes federal court jurisdiction to review any

 non-constitutional "causes or claims" that "aris[e]' from any action undertaken, or any

 decision made, by the Secretary of Homeland Security pursuant to" the Secretary's waiver

 authority. IIRIRA § 102(c)(2)(A); Save Our Heritage Org. v. Gonzales, 533 F. Supp. 2d

 58, 60 (D.D.C. 2008) ("The only claims permitted under the [IIRIRA] waiver provision

 are those 'alleging a violation of the Constitution.'" (quoting IIRIRA § 102(c)(2)(A)). In

 other words, IIRIRA not only permits the Secretary to waive NEPA and the ESA, but it

 also precludes any non-constitutional challenge to the waiver itself.

        However, IIRIRA's preclusion-of-review provision does not end the matter. NABA

 contends that I may review whether the Secretary's waiver was ultra vires for failure to

 consult with other stakeholders, as required under IIRIRA § 102(b)(1)(C).            While

 defendants respond that such non-statutory review is also foreclosed, it is well established

 in our Circuit that "even where a statute precludes judicial review, 'judicial review is

                                             11
  CaseCase 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument  45onFiled
                               29-1 Filed         02/14/19
                                             01/20/20        PagePage
                                                        in TXSD   12 of38
                                                                        14of 62
USCA Case #19-5052    Document #1781785         Filed: 04/08/2019   Page 14 of 17


 available when an agency acts ultra vires.'" Sky Television, LLC v. F.C.C., 589 Fed.Appx.

 541, 543 (D.C. Cir. 2014) (quoting Aid Ass 'n for Lutherans v. U.S. Postal Serv., 321 F.3d

 1166, 1173 (D.C. Cir. 2003)). Not surprisingly, however, non-statutory review of agency

 action is "of extremely limited scope." Griffith v. Fed. Labor Relations Auth., 842 F.2d

 487, 493 (D.C. Cir. 1988); see also Trudeau v. Federal Trade Comm'n, 456 F.3d 178, 190

 (D.C. Cir. 2006). "If a no-review provision shields particular types of administrative

 action, a court may not inquire whether a challenged agency decision is arbitrary,

 capricious, or procedurally defective." Amgen, Inc. v. Smith, 357 F.3d 103, 113 (D.C. Cir.

 2004). The Court must only "determine whether the challenged agency action is of the sort

 shielded from review." Id.

        Here, the Secretary's waiver "is of the sort shielded from review" under IIRIRA,

 and plaintiff's ultra vires argument is predicated on an alleged procedural defect. See id.

 The consultation provision on which NABA relies provides that "[i]n carrying out this

 section, the Secretary of Homeland Security shall consult with the Secretary of the Interior,

 the Secretary of Agriculture, States, local governments, Indian tribes, and property owners

 in the United States to minimize the impact on the environment, culture, commerce, and

 quality of life for the communities and residents located near the sites at which such fencing

 is to be constructed." IIRIRA § 102(b)(1)(C). Although the statutory language is phrased

 in mandatory terms, the provision "does not provide any specific limitation or guidance

 concerning when or how consultation is to occur except expressly stating who shall be

 consulted." In re Border Infrastructure Environmental Litig., 284 F.Supp.3d 1092, 1126

 (S.D. Cal. 2018), aff'd, 2019 WL 509813 (9th Cir. Feb. 11, 2019). In other words, IRIRA

                                              12
  CaseCase 1:17-cv-02651-RJL
       7:19-cv-00411  DocumentDocument 45onFiled
                               29-1 Filed        02/14/19
                                            01/20/20        PagePage
                                                       in TXSD   13 of39
                                                                       14of 62
USCA Case #19-5052    Document #1781785        Filed: 04/08/2019   Page 15 of 17


 is silent as to whether the consultation required must occur prior to a waiver determination.

 Moreover, the decision whether to exercise the waiver authority is in the Secretary's "sole

 discretion." IIRIRA § 102(c)(1). The statute neither requires the Secretary to consult with

 the stakeholders identified in § 102(b)(1)(C) before exercising her waiver authority, nor

 indicates that the Secretary's waiver power in any way depends on the views of those third

 parties.

        Pre-waiver consultation may be wise policy, but it not a statutory requirement. As

 such, even assuming the complete absence of consultation here, I cannot conclude that the

 Secretary's Waiver Determination was plainly in excess of her delegated statutory powers

 or contradicted a clear statutory mandate. See In re Border Infrastructure Environmental

 Litigation, 284 F.Supp.3d at 1126 (rejecting ultra vices argument that Secretary exceeded

 "delegated powers by approving the waivers or executing construction contracts prior to

 completing the consultation process" because IIRIRA lacks "a 'clear and mandatory'

 mandate regarding the timing of consultation"); Griffith, 842 F.2d at 493. My jurisdiction

 therefore does not extend beyond NABA's constitutional claims, and its statutory claims

 must be dismissed under Rule 12(b)(1) for lack of subject matter jurisdiction.




                                              13
  CaseCase  1:17-cv-02651-RJL
       7:19-cv-00411   DocumentDocument  45onFiled
                                29-1 Filed          02/14/19
                                             01/20/20          PagePage
                                                         in TXSD    14 of40
                                                                          14of 62
USCA Case #19-5052    Document #1781785          Filed: 04/08/2019    Page 16 of 17


                                   CONCLUSION

        For the foregoing reasons, defendants' motions to dismiss are hereby GRANTED,

 plaintiff's constitutional claims are DISMISSED without prejudice, and plaintiff's

 statutory claims are DISMISSED with prejudice. A separate order consistent with this

 decision accompanies this Memorandum Opinion.




                                               RICHARD J.
                                               United States    a Judge




                                          14
  Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 41 of 62
USCA Case #19-5052   Document #1781785        Filed: 04/08/2019 Page 17 of 17




                             CERTIFICATE OF SERVICE
         I certify that, on this 8th day of April 2019, the foregoing underlying

   decision from which appeal arises was served on the below counsel who has

   appeared for defendant-appellees in this matter by filing it with the Court’s

   electronic filing system, pursuant to Fed. R. App. P. 25(c)(2)(A).


         Jeffrey Steven Beelaert
         U.S. Department of Justice
         Environment and Natural Resources Division
         Appellate Section
         950 Pennsylvania Avenue, N.W.
         Washington, DC 20530-0001
         Email: Jeffrey.Beelaert@usdoj.gov, efile_app.enrd@usdoj.gov


   I declare under penalty of perjury that the foregoing is true and correct.


   Executed on April 8, 2019, New York, NY.


                                           By:   /s/Timothy K. Beeken

                                                 Timothy K. Beeken
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 42 of 62




                             EXHIBIT A‐04

                                  TO

                  DECLARATION OF MARK J. COURTOIS
DHS Issues Waiver to Expedite Border Construction Project in Hidalgo ...      https://www.dhs.gov/news/2018/10/11/dhs-issues-waiver-expedite-borde...
                     Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 43 of 62
                    Official website of the Department of Homeland Security                                                 Exhibit A-04




                                                                                                                            Exhibit A-04
1 of 2                                                                                                                         12/26/2019, 12:46 PM
DHS Issues Waiver to Expedite Border Construction Project in Hidalgo ...   https://www.dhs.gov/news/2018/10/11/dhs-issues-waiver-expedite-borde...
                     Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 44 of 62




2 of 2                                                                                                                      12/26/2019, 12:46 PM
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 45 of 62




                             EXHIBIT A‐05

                                  TO

                  DECLARATION OF MARK J. COURTOIS
                                                                                                                                  Exhibit A-05
                                                            Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 46 of 62
                                               51472                       Federal Register / Vol. 83, No. 197 / Thursday, October 11, 2018 / Notices

                                               339: Science Education Partnership Awards               Health, 6701 Rockledge Drive, Room 3192,              1–2, of the 2016.1 PREP Guidelines, the
                                               (SEPA).                                                 MSC 7808, Bethesda, MD 20892, 240–519–                effective date is ‘‘60 days after the date
                                                 Date: November 5–6, 2018.                             7808, kostrikr@csr.nih.gov.                           of publication in the Federal Register.’’
                                                 Time: 8:00 a.m. to 6:00 p.m.                             Name of Committee: Center for Scientific           The Coast Guard has corrected Section
                                                 Agenda: To review and evaluate grant                  Review Special Emphasis Panel; Member
                                               applications.                                                                                                 1.3 of the 2016.1 PREP Guidelines to
                                                                                                       Conflict: Topics in Diabetes.
                                                 Place: Westin Grand, 2350 M Street NW,                                                                      reflect the effective date is ‘‘October 1,
                                                                                                          Date: November 6, 2018.
                                               Washington, DC 20037.                                      Time: 2:00 p.m. to 5:00 p.m.                       2018.’’ A corrected version of the 2016.1
                                                 Contact Person: Jonathan Arias, Ph.D.,                   Agenda: To review and evaluate grant               PREP Guidelines has been uploaded to
                                               Scientific Review Officer, Center for                   applications.                                         the USCG Homeport site at the
                                               Scientific Review, National Institutes of                  Place: National Institutes of Health, 6701         following link: https://
                                               Health, 6701 Rockledge Drive, Room 5170,                Rockledge Drive, Bethesda, MD 20892                   homeport.uscg.mil/missions/incident-
                                               MSC 7840, Bethesda, MD 20892, 301–435–                  (Telephone Conference Call).                          management-and-preparedness/
                                               2406, ariasj@csr.nih.gov.                                  Contact Person: Liliana N. Berti-Mattera,          contingency-exercises/port-level-
                                                 Name of Committee: Center for Scientific              Ph.D., Scientific Review Officer, Center for          exercises/port-level-exercises-general-
                                               Review Special Emphasis Panel; PAR Panel:               Scientific Review, National Institutes of
                                               Pilot Clinical Trials for the Spectrum of                                                                     information.
                                                                                                       Health, 6701 Rockledge Drive, RM 4215,
                                               Alzheimer’s Disease.                                    Bethesda, MD 20892, 301–827–7609,                     FOR FURTHER INFORMATION CONTACT: Mr.
                                                 Date: November 5, 2018.                               liliana.berti-mattera@nih.gov.                        Jonathan Smith, Office of Marine
                                                 Time: 1:00 p.m. to 5:00 p.m.                             Name of Committee: Center for Scientific           Environmental Response Policy, U.S.
                                                 Agenda: To review and evaluate grant                  Review Special Emphasis Panel; Member                 Coast Guard, 202–372–2675.
                                               applications.                                           Conflict: Molecular Hematology.
                                                 Place: National Institutes of Health, 6701                                                                  SUPPLEMENTARY INFORMATION: On page
                                                                                                          Date: November 6, 2018.                            1–2 of the 2016.1 PREP Guidelines, in
                                               Rockledge Drive, Bethesda, MD 20892                        Time: 12:00 p.m. to 2:30 p.m.
                                               (Telephone Conference Call).                                                                                  Section 1.3, the ‘‘Effective Date’’ is
                                                                                                          Agenda: To review and evaluate grant
                                                 Contact Person: Wind Cowles, Ph.D.,                   applications.                                         corrected to read: ‘‘The 2016.1 PREP
                                               Scientific Review Officer, Center for                      Place: National Institutes of Health, 6701         Guidelines are effective on October 1,
                                               Scientific Review, National Institutes of               Rockledge Drive, Bethesda, MD 20892                   2018. The PREP Guidelines follow the
                                               Health, 6701 Rockledge Drive Room 3172,                 (Telephone Conference Call).                          calendar year (January 1–December
                                               Bethesda, MD 20892, 301–437–7872,                          Contact Person: Katherine M. Malinda,              31).’’ A corrected version of the 2016.1
                                               cowleshw@csr.nih.gov.                                   Ph.D., Scientific Review Officer, Center for          PREP Guidelines has been uploaded to
                                                 Name of Committee: Center for Scientific              Scientific Review, National Institutes of             the Coast Guard Homeport site and can
                                               Review Special Emphasis Panel; Member                   Health, 6701 Rockledge Drive, Room 4140,              be accessed at https://
                                               Conflict: Eukaryotic Parasites and Vectors.             MSC 7814, Bethesda, MD 20892, 301–435–
                                                 Date: November 6–7, 2018.                                                                                   homeport.uscg.mil/missions/incident-
                                                                                                       0912, Katherine_Malinda@csr.nih.gov.
                                                 Time: 8:00 a.m. to 5:00 p.m.                                                                                management-and-preparedness/
                                                                                                       (Catalogue of Federal Domestic Assistance
                                                 Agenda: To review and evaluate grant                                                                        contingency-exercises/port-level-
                                                                                                       Program Nos. 93.306, Comparative Medicine;
                                               applications.                                           93.333, Clinical Research, 93.306, 93.333,            exercises/port-level-exercises-general-
                                                 Place: National Institutes of Health, 6701            93.337, 93.393–93.396, 93.837–93.844,                 information.
                                               Rockledge Drive, Bethesda, MD 20892                     93.846–93.878, 93.892, 93.893, National                 Dated: October 4, 2018.
                                               (Virtual Meeting).                                      Institutes of Health, HHS)
                                                 Contact Person: Fouad A. El-Zaatari, Ph.D.,                                                                 Ricardo M. Alonso,
                                               Scientific Review Officer, Center for                     Dated: October 4, 2018.                             Captain, U.S. Coast Guard, Chief, Office of
                                               Scientific Review, National Institutes of               Melanie J. Pantoja,                                   Marine Environmental Response and Policy.
                                               Health, 6701 Rockledge Drive, Room 3186,                Program Analyst, Office of Federal Advisory           [FR Doc. 2018–22214 Filed 10–10–18; 8:45 am]
                                               MSC 7808, Bethesda, MD 20892, (301) 435–                Committee Policy.                                     BILLING CODE 9110–04–P
                                               1149, elzaataf@csr.nih.gov.
                                                                                                       [FR Doc. 2018–22089 Filed 10–10–18; 8:45 am]
                                                 Name of Committee: Center for Scientific
                                                                                                       BILLING CODE 4140–01–P
                                               Review Special Emphasis Panel; Small                                                                          DEPARTMENT OF HOMELAND
                                               Business: Radiation Therapy and Biology.                                                                      SECURITY
                                                 Date: November 6–7, 2018.
                                                 Time: 8:00 a.m. to 11:00 p.m.                         DEPARTMENT OF HOMELAND
                                                                                                                                                             Determination Pursuant to Section 102
                                                 Agenda: To review and evaluate grant                  SECURITY
                                               applications.
                                                                                                                                                             of the Illegal Immigration Reform and
                                                 Place: National Institutes of Health, 6701            Coast Guard                                           Immigrant Responsibility Act of 1996,
                                               Rockledge Drive, Bethesda, MD 20892                                                                           as Amended
                                               (Virtual Meeting).                                      [Docket No. USCG–2017–0894]
                                                                                                                                                             AGENCY: Office of the Secretary,
                                                 Contact Person: Bo Hong, Ph.D., Scientific            RIN 1625–ZA37
                                               Review Officer, Center for Scientific Review,
                                                                                                                                                             Department of Homeland Security.
                                               National Institutes of Health, 6701 Rockledge           Update to the 2016 National                           ACTION: Notice of determination.
                                               Drive, Room 6194, MSC 7804, Bethesda, MD                Preparedness for Response Exercise
                                               20892, 301–996–6208, hongb@csr.nih.gov.                                                                       SUMMARY:   The Secretary of Homeland
                                                                                                       Program (PREP) Guidelines;                            Security has determined, pursuant to
                                                 Name of Committee: Center for Scientific              Correction
                                               Review Special Emphasis Panel; Topics in                                                                      law, that it is necessary to waive certain
                                               Bacterial Pathogenesis.                                 AGENCY:   Coast Guard, DHS.                           laws, regulations, and other legal
                                                 Date: November 6, 2018.                                                                                     requirements in order to ensure the
                                                                                                       ACTION:   Notice.
                                                 Time: 8:00 a.m. to 6:00 p.m.                                                                                expeditious construction of barriers and
khammond on DSK30JT082PROD with NOTICES




                                                 Agenda: To review and evaluate grant                  SUMMARY:   On October 2, 2018, the Coast              roads in the vicinity of the international
                                               applications.                                                                                                 land border of the United States in
                                                                                                       Guard published a notice of availability
                                                 Place: Embassy Suites at the Chevy Chase                                                                    Hidalgo County in the State of Texas.
                                               Pavilion, 4300 Military Road NW,                        of the 2016.1 PREP Guidelines. In the
                                                                                                       DATES section of the Notice of                        DATES: This determination takes effect
                                               Washington, DC 20015.
                                                 Contact Person: Richard G. Kostriken,                 availability, the effective date of the               on October 11, 2018.
                                               Ph.D., Scientific Review Officer, Center for            2016.1 PREP Guidelines is October 1,                  SUPPLEMENTARY INFORMATION: Important
                                               Scientific Review, National Institutes of               2018. However, in Section 1.3, page                   mission requirements of the Department

                                                                                                                                                                                             Exhibit A-05
                                          VerDate Sep<11>2014   20:54 Oct 10, 2018   Jkt 247001   PO 00000   Frm 00038   Fmt 4703   Sfmt 4703   E:\FR\FM\11OCN1.SGM   11OCN1
                                                            Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 47 of 62
                                                                           Federal Register / Vol. 83, No. 197 / Thursday, October 11, 2018 / Notices                                          51473

                                               of Homeland Security (‘‘DHS’’) include                  IIRIRA, Congress granted to the                          • Starting at the eastern boundary of
                                               border security and the detection and                   Secretary of Homeland Security the                    the La Coma Tract of the Lower Rio
                                               prevention of illegal entry into the                    authority to waive all legal requirements             Grande Valley National Wildlife Refuge
                                               United States. Border security is critical              that I, in my sole discretion, determine              and running east in proximity to the
                                               to the nation’s national security.                      necessary to ensure the expeditious                   IBWC levee for approximately two and
                                               Recognizing the critical importance of                  construction of barriers and roads                    one-half (2.5) miles.
                                               border security, Congress has mandated                  authorized by section 102 of IIRIRA.                     • Starting where South International
                                               DHS to achieve and maintain                                                                                   Boulevard crosses the IBWC levee and
                                                                                                       Determination and Waiver                              running west and east in proximity to
                                               operational control of the international
                                               land border. Secure Fence Act of 2006,                  Section 1                                             the IBWC levee approximately one-half
                                               Public Law 109–367, § 2, 120 Stat. 2638                                                                       (0.5) of a mile in both directions.
                                                                                                          The United States Border Patrol’s Rio                 • Starting approximately one-quarter
                                               (Oct. 26, 2006) (8 U.S.C. 1701 note).                   Grande Valley Sector is an area of high
                                               Congress defined ‘‘operational control’’                                                                      (0.25) of a mile west of the western
                                                                                                       illegal entry. For the last several years,            boundary of the Mercedes Settling Basin
                                               as the prevention of all unlawful entries               the Rio Grande Valley Sector has seen
                                               into the United States, including entries                                                                     and running northeast in proximity to
                                                                                                       more apprehensions of illegal aliens                  the IBWC levee approximately two and
                                               by terrorists, other unlawful aliens,                   than any other sector of the United
                                               instruments of terrorism, narcotics, and                                                                      one-half (2.5) miles.
                                                                                                       States Border Patrol (‘‘Border Patrol’’).                There is presently an acute and
                                               other contraband. Id. Consistent with                   For example, in fiscal year 2017 alone,
                                               that mandate from Congress, the                                                                               immediate need to construct physical
                                                                                                       Border Patrol apprehended over 137,000                barriers and roads in the vicinity of the
                                               President’s Executive Order on Border                   illegal aliens. In that same year Border
                                               Security and Immigration Enforcement                                                                          border of the United States in order to
                                                                                                       Patrol seized approximately 260,000                   prevent unlawful entries into the United
                                               Improvements directed executive                         pounds of marijuana and approximately
                                               departments and agencies to deploy all                                                                        States in the project area. In order to
                                                                                                       1,200 pounds of cocaine.                              ensure the expeditious construction of
                                               lawful means to secure the southern                        In order to satisfy the need for                   the barriers and roads in the project
                                               border. Executive Order 13767, § 1. In                  additional border infrastructure in the               area, I have determined that it is
                                               order to achieve that end, the President                Rio Grande Valley Sector, DHS will take               necessary that I exercise the authority
                                               directed, among other things, that I take               action to construct barriers and roads.               that is vested in me by section 102(c) of
                                               immediate steps to prevent all unlawful                 DHS will construct barriers and roads                 IIRIRA.
                                               entries into the United States, including               within various segments of the border in                 Accordingly, pursuant to section
                                               the immediate construction of physical                  the Rio Grande Valley Sector. The                     102(c) of IIRIRA, I hereby waive in their
                                               infrastructure to prevent illegal entry.                segments of the border within which                   entirety, with respect to the
                                               Executive Order 13767, § 4(a).                          such construction will occur are                      construction of roads and physical
                                                  Congress has provided to the                         referred to herein as the ‘‘project area’’            barriers (including, but not limited to,
                                               Secretary of Homeland Security a                        and are more specifically described in                accessing the project area, creating and
                                               number of authorities necessary to carry                Section 2 below.                                      using staging areas, the conduct of
                                               out DHS’s border security mission. One                                                                        earthwork, excavation, fill, and site
                                               of those authorities is found at section                Section 2
                                                                                                                                                             preparation, and installation and
                                               102 of the Illegal Immigration Reform                      I determine that the following areas in            upkeep of physical barriers, roads,
                                               and Immigrant Responsibility Act of                     the vicinity of the United States border,             supporting elements, drainage, erosion
                                               1996, as amended (‘‘IIRIRA’’). Public                   located in Hidalgo County in the State                controls, safety features, lighting,
                                               Law 104–208, Div. C, 110 Stat. 3009–                    of Texas, within the United States                    cameras, and sensors) in the project
                                               546, 3009–554 (Sept. 30, 1996) (8 U.S.C                 Border Patrol’s Rio Grande Valley                     area, all of the following statutes,
                                               1103 note), as amended by the REAL ID                   Sector, are areas of high illegal entry               including all federal, state, or other
                                               Act of 2005, Public Law 109–13, Div. B,                 (the ‘‘project area’’):                               laws, regulations, and legal
                                               119 Stat. 231, 302, 306 (May 11, 2005)                     • Starting approximately a quarter                 requirements of, deriving from, or
                                               (8 U.S.C. 1103 note), as amended by the                 mile west of the location where the                   related to the subject of, the following
                                               Secure Fence Act of 2006, Public Law                    levee intersects Goodwin/Abram road                   statutes, as amended: The National
                                               109–367, § 3, 120 Stat. 2638 (Oct. 26,                  and running east in proximity to the                  Environmental Policy Act (Pub. L. 91–
                                               2006) (8 U.S.C. 1103 note), as amended                  International Boundary and Water                      190, 83 Stat. 852 (Jan. 1, 1970) (42
                                               by the Department of Homeland                           Commission (‘‘IBWC’’) levee to                        U.S.C. 4321 et seq.)); the Endangered
                                               Security Appropriations Act, 2008,                      approximately a quarter mile east of                  Species Act (Pub. L. 93–205, 87 Stat.
                                               Public Law 110–161, Div. E, Title V,                    Anzalduas Dam Road, a total distance of               884 (Dec. 28, 1973) (16 U.S.C. 1531 et
                                               § 564, 121 Stat. 2090 (Dec. 26, 2007). In               approximately eight (8) miles.                        seq.)); the Federal Water Pollution
                                               section 102(a) of IIRIRA, Congress                         • Starting at the eastern boundary of              Control Act (commonly referred to as
                                               provided that the Secretary of                          the Santa Ana National Wildlife Refuge                the Clean Water Act (33 U.S.C. 1251 et
                                               Homeland Security shall take such                       and running east in proximity to the                  seq.)); the National Historic Preservation
                                               actions as may be necessary to install                  IBWC levee approximately two and                      Act (Pub. L. 89–665, 80 Stat. 915 (Oct.
                                               additional physical barriers and roads                  four-tenths (2.4) miles to the western                15, 1966), as amended, repealed, or
                                               (including the removal of obstacles to                  boundary of the Monterrey Banco Tract                 replaced by Public Law 113–287 (Dec.
                                               detection of illegal entrants) in the                   of the Lower Rio Grande Valley National               19, 2014) (formerly codified at 16 U.S.C.
                                               vicinity of the United States border to                 Wildlife Refuge.                                      470 et seq., now codified at 54 U.S.C.
khammond on DSK30JT082PROD with NOTICES




                                               deter illegal crossings in areas of high                   • Starting at the eastern boundary of              100101 note and 54 U.S.C. 300101 et
                                               illegal entry into the United States. In                the Monterrey Banco Tract of the Lower                seq.)); the Migratory Bird Treaty Act (16
                                               section 102(b) of IIRIRA, Congress                      Rio Grande Valley National Wildlife                   U.S.C. 703 et seq.); the Migratory Bird
                                               mandated the installation of additional                 Refuge and running south and east in                  Conservation Act (16 U.S.C. 715 et seq.);
                                               fencing, barriers, roads, lighting,                     proximity to the IBWC levee for                       the Clean Air Act (42 U.S.C. 7401 et
                                               cameras, and sensors on the southwest                   approximately one and one-half (1.5)                  seq.); the Archeological Resources
                                               border. Finally, in section 102(c) of                   miles.                                                Protection Act (Pub. L. 96–95 (16 U.S.C.


                                          VerDate Sep<11>2014   20:54 Oct 10, 2018   Jkt 247001   PO 00000   Frm 00039   Fmt 4703   Sfmt 4703   E:\FR\FM\11OCN1.SGM   11OCN1
                                                            Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 48 of 62
                                               51474                       Federal Register / Vol. 83, No. 197 / Thursday, October 11, 2018 / Notices

                                               470aa et seq.)); the Paleontological                    DEPARTMENT OF HOUSING AND                             instructions provided on that site to
                                               Resources Preservation Act (16 U.S.C.                   URBAN DEVELOPMENT                                     submit comments electronically.
                                               470aaa et seq.); the Federal Cave                                                                                Submission of Comments by Mail.
                                                                                                       [Docket No. FR–5994–N–04]
                                               Resources Protection Act of 1988 (16                                                                          Alternatively, interested persons may
                                               U.S.C. 4301 et seq.); the Safe Drinking                 Operations Notice for the Expansion of                submit comments regarding this Notice
                                               Water Act (42 U.S.C. 300f et seq.); the                 the Moving to Work Demonstration                      to the Regulations Division, Office of
                                               Noise Control Act (42 U.S.C. 4901 et                    Program; Republication and Extension                  General Counsel, Department of
                                               seq.); the Solid Waste Disposal Act, as                 of Comment Period                                     Housing and Urban Development, 451
                                               amended by the Resource Conservation                                                                          7th Street SW, Room 10276,
                                               and Recovery Act (42 U.S.C. 6901 et                     AGENCY: Office of Public and Indian                   Washington, DC 20410–0500.
                                                                                                       Housing, HUD.                                         Communications must refer to the above
                                               seq.); the Comprehensive Environmental
                                                                                                       ACTION: Notice.                                       docket number and title.
                                               Response, Compensation, and Liability
                                                                                                                                                                Note: To receive consideration as
                                               Act (42 U.S.C. 9601 et seq.); the                       SUMMARY:    HUD is republishing the                   public comments, comments must be
                                               Archaeological and Historic                             Operations Notice published in the                    submitted through one of the two
                                               Preservation Act (Pub. L. 86–523, as                    Federal Register on October 5, 2018,                  methods specified above. Again, all
                                               amended, repealed, or replaced by Pub.                  which omitted the Appendix. This                      submissions must refer to the docket
                                               L. 113–287 (Dec. 19, 2014) (formerly                    Notice includes the Appendix and the                  number and title of the Notice.
                                               codified at 16 U.S.C. 469 et seq., now                  public comment period is extended                        No Facsimile Comments. Facsimile
                                               codified at 54 U.S.C. 312502 et seq.));                 accordingly.                                          (fax) comments are not acceptable.
                                               the Antiquities Act (formerly codified at                  The Public Housing/Section 8 Moving                   Public Inspection of Public
                                               16 U.S.C. 431 et seq., now codified 54                  to Work (MTW) demonstration program                   Comments. All properly submitted
                                               U.S.C. 320301 et seq.); the Historic                    was first established under Section 204               comments and communications
                                               Sites, Buildings, and Antiquities Act                   of the Omnibus Consolidated                           submitted to HUD will be available for
                                               (formerly codified at 16 U.S.C. 461 et                  Rescissions and Appropriations Act of                 public inspection and copying between
                                               seq., now codified at 54 U.S.C. 3201–                   1996 to provide statutory and regulatory              8 a.m. and 5 p.m. weekdays at the above
                                               320303 & 320101–320106); the                            flexibility to participating public                   address. Due to security measures at the
                                               Farmland Protection Policy Act (7                       housing agencies (PHAs) under three                   HUD Headquarters building, an
                                               U.S.C. 4201 et seq.); the Coastal Zone                  statutory objectives. Those three                     appointment to review the public
                                               Management Act (Pub. L. 92–583 (16                      statutory objectives are: To reduce cost              comments must be scheduled in
                                               U.S.C. 1451, et seq.)); the Federal Land                and achieve greater cost effectiveness in             advance by calling the Regulations
                                               Policy and Management Act (Pub. L.                      Federal expenditures; to give incentives              Division at 202–708–3055 (this is not a
                                               94–579 (43 U.S.C. 1701 et seq.)); the                   to families with children whose heads                 toll-free number). Individuals with
                                                                                                       of household are either working, seeking              speech or hearing impairments may
                                               National Wildlife Refuge System
                                                                                                       work, or are participating in job                     access this number via TTY by calling
                                               Administration Act (Pub. L. 89–669, 16
                                                                                                       training, educational or other programs               the Federal Relay Service at 1–800–877–
                                               U.S.C. 668dd–668ee); National Fish and                                                                        8339 (this is a toll-free number). Copies
                                                                                                       that assist in obtaining employment and
                                               Wildlife Act of 1956 (Pub. L. 84–1024                   becoming economically self-sufficient;                of all comments submitted are available
                                               (16 U.S.C. 742a, et seq.)); the Fish and                and to increase housing choices for low-              for inspection and downloading at
                                               Wildlife Coordination Act (Pub. L. 73–                  income families. This Operations Notice               www.regulations.gov.
                                               121 (16 U.S.C. 661 et seq.)); the                       for the Expansion of the MTW                          FOR FURTHER INFORMATION CONTACT:
                                               Administrative Procedure Act (5 U.S.C.                  Demonstration Program (Operations
                                               551 et seq.); the River and Harbors Act                                                                       Marianne Nazzaro, Director, Moving to
                                                                                                       Notice) establishes requirements for the              Work Demonstration Program, Office of
                                               of 1899 (33 U.S.C. 403)); the Eagle                     implementation and continued                          Public and Indian Housing, Department
                                               Protection Act (16 U.S.C. 668 et seq.);                 operation of the MTW demonstration                    of Housing and Urban Development,
                                               the Native American Graves Protection                   program pursuant to the 2016 MTW                      451 7th Street SW, Room 4130,
                                               and Repatriation Act (25 U.S.C. 3001 et                 Expansion Statute.                                    Washington, DC 20410; email address
                                               seq.); and the American Indian                          DATES: Comment Due Date: November                     mtw-info@hud.gov.
                                               Religious Freedom Act (42 U.S.C. 1996).                 26, 2018.                                             SUPPLEMENTARY INFORMATION: This
                                                  This waiver does not revoke or                       ADDRESSES:                                            republication of the October 5, 2018
                                               supersede the previous waiver                              Electronic Submission of Comments.                 Operations Notice, originally published
                                               published in the Federal Register on                    HUD strongly encourages interested                    at 83 FR 50387, includes an Appendix
                                               April 8, 2008 (73 FR 19077), which shall                persons to submit comments                            that was omitted.
                                               remain in full force and effect in                      electronically. Electronic submission of
                                                                                                       comments allows the commenter                         I. Background
                                               accordance with its terms. I reserve the
                                               authority to execute further waivers                    maximum time to prepare and submit a                    Section 239 of the Fiscal Year 2016
                                               from time to time as I may determine to                 comment, ensures timely receipt by                    Appropriations Act, Public Law 114–
                                               be necessary under section 102 of                       HUD, and enables HUD to make them                     113 (2016 MTW Expansion Statute),
                                               IIRIRA.                                                 immediately available to the public.                  signed by the President in December
                                                                                                       Interested persons may submit                         2015, authorizes HUD to expand the
                                                 Dated: October 4, 2018.                               comments electronically through the                   MTW demonstration program from the
khammond on DSK30JT082PROD with NOTICES




                                               Kirstjen M. Nielsen,                                    Federal eRulemaking Portal at                         current size of 39 agencies to an
                                               Secretary of Homeland Security.                         www.regulations.gov. Comments                         additional 100 agencies over a period of
                                               [FR Doc. 2018–22063 Filed 10–10–18; 8:45 am]            submitted electronically through the                  7 years. This Notice was originally
                                               BILLING CODE 9111–14–P
                                                                                                       www.regulations.gov website can be                    published on January 23, 2017, in the
                                                                                                       viewed by other commenters and                        Federal Register, entitled ‘‘Operations
                                                                                                       interested members of the public.                     Notice for the Expansion of the Moving
                                                                                                       Commenters should follow the                          to Work Demonstration Program


                                          VerDate Sep<11>2014   20:54 Oct 10, 2018   Jkt 247001   PO 00000   Frm 00040   Fmt 4703   Sfmt 4703   E:\FR\FM\11OCN1.SGM   11OCN1
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 49 of 62




                             EXHIBIT A‐06

                                  TO

                  DECLARATION OF MARK J. COURTOIS
1/7/2020                              A look at the29-1
                 Case 7:19-cv-00411 Document       effort to build
                                                             Filed a border wall in the RGV
                                                                      on 01/20/20        in -TXSD                  Exhibit A-06
                                                                                             The MonitorPage 50 of 62


                   A look at the effort to build a border wall in the RGV
                   Mark Reagan - December 30, 2019




                   The border wall under construction on Thursday, Nov. 21, 2019, south of Donna. (Joel Martinez | jmartinez@themonitor.com)



                   As 2019 comes to a close, the third anniversary of Executive Order 13767 is fast approaching.


                   President Donald Trump signed the directive, also known as the Border Security and Immigration
                   Enforcement Improvements order, on Jan. 25, 2017, just days after taking office in his first step to
                   fulfill a campaign promise he made from Trump Tower in New York City in 2015 when he announced
                   he was seeking the Republican nomination for president.


                   In that speech, Trump promised to build a wall while accusing Mexico of sending drug dealers,
                   criminals and rapists to the United States.


                   He also promised that Mexico would pay for the wall. That hasn’t happened.


                   Instead, Congress has appropriated $1.4 billion to fund the border barrier.


                   So where do efforts by U.S. Customs and Border Protection to build a wall in the Rio Grande Valley —
                   the busiest region in the nation for drug trafficking and apprehensions of people crossing the Rio
                   Grande illegally — stand?


                   The first indication of any real action here began in October 2018, when the Department of Homeland
                   Security waived numerous laws so that it could construct 11 gates in gaps along existing border wall
                   in Cameron County. That same month, the U.S. government filed a land condemnation lawsuit
                   against the Catholic Diocese of Brownsville seeking right of entry to the historic La Lomita Chapel for
                   surveying purposes for a border wall.


                   These occurrences followed news that CBP also wanted to survey and eventually build a wall in the
                   Santa Ana National Wildlife Refuge, an ecologically diverse gem that attracts outdoor enthusiasts
                   from across the country for its birding opportunities.                                                                      Exhibit A-06
https://www.themonitor.com/2019/12/30/look-effort-build-border-wall-rgv/                                                                                1/4
1/7/2020                              A look at the29-1
                 Case 7:19-cv-00411 Document       effort to build
                                                             Filed a border wall in the RGV
                                                                      on 01/20/20        in -TXSD
                                                                                             The MonitorPage 51 of 62

                   Since then, lawmakers in Congress were able to add protections in the last budget bill protecting the
                   Santa Ana National Wildlife Refuge, La Lomita Historical Park, Bentsen-Rio Grande Valley State Park,
                   within or east of the Vista del Mar Ranch tract of the Lower Rio Grande Valley National Wildlife Refuge
                   where SpaceX has a facility, and the National Butterfly Center.


                                                               Both Santa Ana and the Lower Rio Grande Valley refuges are federally
                                                               owned, while Bentsen-Rio Grande Valley State Park is managed by
                                                               the state of Texas. La Lomita and the National Butterfly Center are
                                                               privately owned, much like the rest of the parcels of land that hug the
                                                               Rio Grande as it winds through Starr, Hidalgo and Cameron counties
                                                               before spilling out into the Gulf of Mexico.


                   U.S. Border Patrol agents stand in          And private property has slowed CBP’s efforts to build border wall in
                   unison as DHS Acting Homeland
                   Secretary Chad Wolf tours and speaks        the Rio Grande Valley as directed by Trump on Jan. 25, 2017.
                   to the local media in front of the border
                   wall under construction on Thursday,
                   Nov. 21, 2019, south of Donna. (Joel        Since November 2018, the federal government has filed 19 land
                   Martinez | jmartinez@themonitor.com)        condemnation lawsuits against property owners in Cameron, Hidalgo
                                                               and Starr counties seeking access to just over 570 acres of land for
                   the purposes of surveying for the planned construction of a border wall.


                   Of those lawsuits, the government filed its first actual declaration of taking against two properties this
                   month.


                   One of those cases is against Frank Schuster Farms and El Sabino Family Farms for a total of 23.311
                   acres. The government has deposited $310,873 as just compensation for the land in the court’s
                   registry. The defendants have not yet filed an answer.


                   In the other case, the government is seeking just over 6 acres in a case that involves 91 defendants.
                   The government has deposited $25,000 into the court’s registry as just compensation and none of the
                   defendants have yet filed an answer.


                   Seven of these cases are resolved, with owners granting the government a right of entry for
                   surveying purposes. The government has paid out just $1,025 to defendants involved in six of those
                   cases while the seventh just allowed the government entry. In one case that involved numerous
                   defendants, the government paid out $350 to a principal landowner and split $175 between 44 people
                   for $3.99 apiece, according to court records.


                   Nine of these cases are currently in litigation with the vast majority being in Hidalgo County, including
                   the actual takings. In one case in Starr County, the government has been unable to locate the
                   landowner.


                   However, more land condemnation lawsuits could be in the works.


                   In June, CBP sent letters to residents in Brownsville’s River Bend Resort & Golf Club stating it intends
                   to build border wall in the area in early 2020, a statement echoed in CBP’s most recent border wall
                   contract announcement at the end of September.


                   In a news release, CBP said that in partnership with the U.S. Army Corps of Engineers, it awarded
                   three contracts to construct approximately 65 miles of new border wall in Starr, Hidalgo and Cameron
                   counties.


                   “Construction is anticipated to begin in early 2020, pending availability of real estate, and will take
                   place in locations where no barriers currently exist,” CBP said in a news release.

https://www.themonitor.com/2019/12/30/look-effort-build-border-wall-rgv/                                                                 2/4
1/7/2020                              A look at the29-1
                 Case 7:19-cv-00411 Document       effort to build
                                                             Filed a border wall in the RGV
                                                                      on 01/20/20        in -TXSD
                                                                                             The MonitorPage 52 of 62

                   That pending real estate is likely the target of land condemnation lawsuits filed by the government.


                   These plans include approximately 21 miles of border wall in Starr County to be built by Southern
                   Border Constructors for a base contract amount of $120,412,400 with a total contract value of
                   $257,808,800.


                   “The project area begins west of Falcon Dam Port of Entry and extends eastward, in five non-
                   contiguous segments, which will connect to other new border wall segments,” the release stated.


                   Southern Border Constructors received another contract for border wall in Starr and Hidalgo counties
                   for 22 miles of wall with a base contract of $110,022,700 and a total contract value of $258,085,400.
                   The project will begin east of the Rio Grande City Port of Entry and extend eastward in two non-
                   contiguous segments that will connect to new border wall segments, according to CBP.


                   Lastly, CBP awarded a contract to Gibralter-Caddell Joint Venture for 22 miles of border wall in
                   Cameron and Hidalgo counties for a base contract amount of $155,269,991 and a total contract value
                   of $296,709,805.


                   “The project area begins east of the Pharr Port of Entry and extends eastward, in 12 non-contiguous
                   segments, which will connect to other new border wall segments,” CBP stated.


                   So is there any new border wall in the Rio Grande Valley?


                   The answer is yes, but not much.


                   CBP began installing the first panels of new border wall here Nov. 1 in
                   the Donna area, which acting DHS Secretary Chad Wolf visited at the
                   end of November.

                                                                                              DHS Acting Homeland Secretary Chad
                   CBP awarded this construct to SLSCO in the amount of $167 million
                                                                                              Wolf, center, tours and speaks to the
                   Nov. 14, 2018, nearly a year before actual construction began.             local media in front of the border wall
                                                                                              under construction on Thursday, Nov.
                                                                                              21, 2019, south of Donna. (Joel
                   This section of border wall is planned for 8 miles in five segments        Martinez | jmatinez@themonitor.com)

                   south of Donna, Alamo, Weslaco, Progreso and Mercedes.


                   When it awarded the contract, CBP said construction would begin in February 2018.


                   Despite continued delays three years into CBP’s efforts to fulfill Executive Order 13767 that have been
                   hindered by private property rights, outcry from local residents trying to protect wildlife refuges,
                   cemeteries and a historic chapel, and by lawmakers across the country, the border agency has set an
                   aggressive goal for building new border wall, according to a Dec. 17 Reuters report.


                   “Our goal at the end of 2020 was 450 miles,” CBP acting Commissioner Mark Morgan told reporters
                   recently, according to Reuters. “It’s hard right now to be able to say whether we’re still going to be
                   able to meet that goal, but I’m confident that we’re going to be close.”


                   mreagan@themonitor.com




https://www.themonitor.com/2019/12/30/look-effort-build-border-wall-rgv/                                                                3/4
1/7/2020                              A look at the29-1
                 Case 7:19-cv-00411 Document       effort to build
                                                             Filed a border wall in the RGV
                                                                      on 01/20/20        in -TXSD
                                                                                             The MonitorPage 53 of 62
                                                                       Mark Reagan
                         Mark Reagan is a reporter for The Monitor. He can be reached at mreagan@themonitor.com or at (956) 683-4437.




https://www.themonitor.com/2019/12/30/look-effort-build-border-wall-rgv/                                                                4/4
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 54 of 62




                             EXHIBIT A‐07

                                  TO

                  DECLARATION OF MARK J. COURTOIS
12/23/2019                              Meet the Americans
                    Case 7:19-cv-00411 Document    29-1 fighting
                                                           Filedcrime
                                                                   onat01/20/20
                                                                        ‘ground zero’in
                                                                                      of TXSD
                                                                                         the border crisis
                                                                                                     Page 55 of 62
                                                                                                                         Exhibit A-07




   NEWS



  Meet the Americans ghting crime at ‘ground zero’
  of the border crisis
  By Isabel Vincent                                                                                                       April 18, 2019 | 7:29pm




  Deputy Sheri Elias Pompa of the Brooks County Sheri 's o ce
  Angel Chevrestt


  LA FERIA, TEXAS — Joe Adalpe III wants the border wall.

  The 32-year-old captain of the Cameron County Constable, Precinct 5, has been ghting crime in this small city of 5,000 nestled among
  onion and corn elds on the banks of the Rio Grande — “ground zero” in the migrant border crisis — for more than a decade.

  “We are the rst line of defense here,” Adalpe told The Post.

  After he and his colleagues apprehend tra ckers or migrants crossing the border, they contact Customs and Border Patrol agents.

  The Mexican-American cop says he’s seen crime spike in the area over the past few years, with an increase in drug tra cking from Mexico
  and sexual assaults against women migrants who are forced into sexual slavery when their families can’t pay the thousands of dollars to the
  tra ckers who bring them over the border.

                                                                                                                  Exhibit A-07
https://nypost.com/2019/04/18/meet-the-americans-fighting-crime-at-ground-zero-of-the-border-crisis/                                           1/4
12/23/2019                            Meet the Americans
                  Case 7:19-cv-00411 Document    29-1 fighting
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                                                                      ‘ground zero’in
                                                                                    of TXSD
                                                                                       the border crisis
                                                                                                   Page 56 of 62
  Wearing dark glasses and a sharp blue suit, with a pair of handcu s dangling from his belt, the mustachioed investigator has found bundles
  of marijuana stashed in places such as a pump house on an onion farm near the meandering Rio Grande.




             00:12 / 00:15



                                                                                                                                    SKIP AD



  He also regularly cracks down on dealers pushing “Xanax bars” — prescription drugs that tra ckers buy over the counter in Mexico for $20
  a bottle and peddle through south Texas for $5 a pill.

  But with a sta of only three constables to patrol an area of 254 square miles, Adalpe said he is afraid that a lot of “bad guys” may be
  getting away.

  While there are currently 60 miles of border fence, which was erected under the Obama administration, there are still large gaps in the
  barrier, allowing drug smugglers and undocumented migrants to cross into south Texas.

                                        A portion of the border fence erected during the Obama administration

                                      A portion of the border fence erected during the Obama administration
                                      Angel Chevrestt



  Last year, the federal Department of Homeland Security signed o on a project to install 35 electric gates in the region, a welcomed boost,
  the cop said.

  But President Trump’s promised wall is needed, he said.

  “We feel the fence or the wall will slow them down. It’s a tool to help us intercept these people,” said Adalpe, whose unit gets some state
  and federal funding to provide overtime pay for sta .

  “We are the boots on the ground, and we are asking for resources.”

  Over the past week, The Post accompanied three local law-enforcement o cers, including Adalpe, in ride-alongs in three di erent counties.




https://nypost.com/2019/04/18/meet-the-americans-fighting-crime-at-ground-zero-of-the-border-crisis/                                            2/4
12/23/2019                           Meet the Americans
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                                                                                                  Page 57 of 62
  Two of the counties — Hidalgo and Cameron — are on the border with Mexico. The third, Brooks, is adjacent to a Customs and Border Patrol
  inspection station nearly 75 miles north of the border. All tra c must pass the inspection station on its journey north.

  In Mission, a city of more than 77,000 in Hidalgo County, Constable Lazaro “Larry” Gallardo, 55, has seen 60 to 100 migrants coming across
  the border in a single six-hour period, he told The Post.

                                                             Constable Lazaro “Larry” Gallardo

                                                          Constable Lazaro “Larry” Gallardo
                                                          Angel Chevrestt



  “Our job is to make sure that drugs and bad guys don’t come over the border,’’ he said.

  “We are the wall.”

  He said his group receives a $90,000 grant from Homeland Security and the same amount from the state every year to pay for overtime for
  the constables that patrol the border area. But his precinct is still stretched thin, he said.

  Among his main concerns is o ering protection to the women and children who come over the border, trying to prevent them from being
  taken to “stash houses” where they are sexually assaulted.

  He told The Post he has seen migrants who have escaped tra ckers with marks on their wrists from captivity.

  On Wednesday, The Post went on a ride-along near the Aznalduas Dam, which has dozens of cameras and motion sensors installed to
  monitor migrants and tra ckers crossing this popular part of the Rio Grande, where the water levels are relatively shallow.

  The patrol apprehended two migrant families from Central America who were wandering lost among the
                                                                                                                             Hidalgo County line signage
  cactus and brush near the US side of the dam.
                                                                                                                           Angel Chevrestt
  The families — one from Guatemala and the other from El Salvador — carried nothing but a single bag for
  each group and seemed dazed after their harrowing journey. They said they waited two days to cross the river, paying the equivalent of $5
  each to cross over in a raft.

  “We’re so relieved to be here,” said Julie Guadelupe Duran, 25, explaining that she traveled on foot and by bus with her 2-year-old daughter
  Marjorie and her 11-year-old niece.

  Duran said she left her home in San Salvador on March 9 after she received numerous death threats from the Calle 18 gang, a rival of MS-13.

  Duran had gone to police to tell them that the father of one of the gang members sexually assaulted her niece, who lives with her. Gang
  members soon paid her family a visit, and “said if we didn’t take back our testimony, they would kill us,” Duran told The Post, adding that she
  hopes to join family members in Houston after she is processed by Border Patrol agents.

                       Julie Guadalupe Duran, center, holding her daughter, Marjorie Duran, and niece, Ashly Nhomy Vasquez

                     Julie Guadalupe Duran, center, holding her daughter, Marjorie Duran, and niece, Ashly Nhomy Vasquez
                     Angel Chevrestt



  Eighty-three miles north, in Falfurrias, a city of just under 5,000 surrounded by a rugged terrain cut by brush and cactus dotted with blue
  barrels of water that local volunteers leave for migrants, Elias Pompa, 42, puts in 16-hour shifts patrolling an area of more than 1,000 square
  miles.

  He is one of ve deputies who goes on patrol alone.

  “We can’t a ord to have more than one deputy patrol at a time,” he said.

  The Brooks County Sheri ’s Deputy has been involved in 250 vehicle pursuits in his 10 years on the beat.

  His fellow cops have christened him “Chicken Hawk” for his sharp-eyed observations that have led to seizures of drugs and migrants.


https://nypost.com/2019/04/18/meet-the-americans-fighting-crime-at-ground-zero-of-the-border-crisis/                                                   3/4
12/23/2019                           Meet the Americans
                 Case 7:19-cv-00411 Document    29-1 fighting
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                                                                                   of TXSD
                                                                                      the border crisis
                                                                                                  Page 58 of 62
  He watches for new footprints on the sandy terrain and ranch fences that are slightly bent where migrants and tra ckers have crossed into
  the brush on the sprawling ranches that surround both sides of Highway 281.

  The area, known as “Death Valley,” is the site where more than 600 migrants have been found dead in the past 10 years, their grisly remains
  picked up by the Brooks County Sheri ’s O ce and sent to the medical examiner’s o ce in Hidalgo County.

  “It’s always the little details that give them away,” Pompa told The Post sipping on a large cardboard McDonald’s co ee cup.

  Pompa once apprehended a work truck because he noticed there was no ladder on the back. There were 21 migrants stu ed into the back,
  and when the truck came to a screeching halt, the migrants scrambled in “a bail-out.”

  Some of them were only able to try to crawl away because their legs and feet were so numb from being cramped up in the truck, he said.

  “I have a real curious mind,” Pompa told The Post when asked how he is able to spot smugglers so well.

  For example, he said he noticed that most tra ckers modify the rear suspension of their vehicles so that they don’t sag under the weight of
  the many people they are cramming in.

                                    Elias Pompa shows a hiding spot in a fake work truck used by human smugglers

                                 Elias Pompa shows a hiding spot in a fake work truck used by human smugglers
                                 Angel Chevrestt



  He often seizes trucks that have no rear passenger seats, which allows them to accommodate dozens of migrants lying on top of each
  other. He once captured a Dodge Neon with only the driver’s seat intact and several migrants crammed in the back.

  “They keep doing this over and over again,” he said of the drugs and human smugglers who modify cars and trucks in order to spirit drugs
  and people across the Texas frontier.

  Among the trucks he has seized at the Brooks County Sheri ’s evidence lot are brand-new pick-up trucks that retail for more than $70,000.

  “It shows you how much money these tra ckers have when they can a ord to lose one of these trucks,” Pompa said.

  Another time, he noticed a pick-up truck with a young couple in the front. It was the middle of winter, but the windows were open. When he
  pulled them over, several migrants ran out, and he later found a wig in the passenger seat, indicating that one of the migrants was posing as
  a woman.

  In another chase in 2016, it was the rear windshield wipers that gave the bad guys away. There was no rain, yet the distracted driver of the
  pick-up he was monitoring had the wipers on. When he stopped them, 12 migrants bailed out.

  Three years earlier, in 2013, a Suburban smuggling migrants crashed through a house, killing an elderly woman who was asleep in her bed.

  In 2015, the driver of a Chevy Trailblazer hit a tree at 90 mph, killing the seven of nine migrants who were in his vehicle. The 19-year-old
  driver, who survived the crash, was illegal, said Pompa, who often nds pocket Bibles in Spanish in the trucks along with 10-pound bundles
  of marijuana and knives that migrants carry with them. He once found a pile of women’s underwear in one truck, he said.

  “We have generations of smugglers here,” he said, surveying the scrub. “We deal with their criminal mischief everyday, and we need help.”


   FILED UNDER   DRUGS, HUMAN TRAFFICKING, IMMIGRATION, SEX TRAFFICKING, TEXAS, US BORDER



                                                                                                                     Recommended by




https://nypost.com/2019/04/18/meet-the-americans-fighting-crime-at-ground-zero-of-the-border-crisis/                                             4/4
Case 7:19-cv-00411 Document 29-1 Filed on 01/20/20 in TXSD Page 59 of 62




                             EXHIBIT A‐08

                                  TO

                  DECLARATION OF MARK J. COURTOIS
  .. .. .. .. ..
12/23/2019                             Border Patrol
                 Case 7:19-cv-00411 Document    29-1 agentsFiled
                                                            recoveron
                                                                    bodies of migrantsinin TXSD
                                                                       01/20/20            RGV | KGBT
                                                                                                            Exhibit
                                                                                                    Page 60 of 62   A-08
                                                                                              73 °     74 °          77 °


    Search Site
 ADVERTISEMENT




   Border Patrol agents recover bodies of four migrants in RGV

   by CBS 4 Sta
   Wednesday, August 14th 2019                                                                                   A A




   BORDER PATROL HEAT.jpg




   HARLINGEN, Texas — United States Patrol agents found the body of a migrant near the
   National Butter y Center in Mission Tuesday, the fourth body found in the Rio Grande Valley in
   less than a week.
                                                                                                        Exhibit A-08
https://valleycentral.com/news/local/border-patrol-agents-recover-bodies-of-migrants-in-rgv                             1/3
12/23/2019                             Border Patrol
                 Case 7:19-cv-00411 Document    29-1 agentsFiled
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                                                                    bodies of migrantsinin TXSD
                                                                       01/20/20            RGV | KGBT
                                                                                                    Page 61 of 62
                                                                       ADVERTISING

                                                                                              73 °         74 °     77 °


    Search Site




   Agents found an identi cation card near the body, but the person has not been o cially
   identi ed.


   On Thursday, August 8, Texas Department of Public Safety received a report of a body near
   Sullivan City. DPS, Border Patrol agents and the Hidalgo County Sheri 's O ce searched the
   area and found a body in the brush.


   On Friday, August 9, agents working at the Javier Vega, Jr. Immigration Checkpoint were noti ed
   of a migrant who had been abandoned at a nearby ranch. When the agents located the
   migrant, he had died. They worked with the Kenedy County Sheri 's O ce to move the body to
   a local funeral home.



   On Saturday, August 10, agents patrolling near La Grulla found a body in the brush.


   Several areas of the Rio Grande Valley experienced record heat this week, but Border Patrol
   o cials have not said if that contributed to the migrants' deaths.




   MORE TO EXPLORE

   Edinburg police conducts drug raid; three arrested



https://valleycentral.com/news/local/border-patrol-agents-recover-bodies-of-migrants-in-rgv                            2/3
12/23/2019                             Border Patrol
                 Case 7:19-cv-00411 Document    29-1 agentsFiled
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                                                                    bodies of migrantsinin TXSD
                                                                       01/20/20            RGV | KGBT
                                                                                                    Page 62 of 62

   Brownsville educator charged with assault                                                  73 °           74 °             77 °


    Search Site


   Brownsville police searching for person of interest




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https://valleycentral.com/news/local/border-patrol-agents-recover-bodies-of-migrants-in-rgv                                      3/3
